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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, et al.,
                                                      Civil Action No. 3:22-cv-00178-SDD-SDJ
           Plaintiffs,

v.                                                    Chief Judge Shelly D. Dick

NANCY LANDRY, in her official capacity as             Magistrate Judge Scott D. Johnson
Secretary of State of Louisiana,

           Defendant.


                  LEGISLATIVE INTERVENORS’ NOTICE OF APPEAL


       Notice is hereby given that Legislative Intervenors Phillip DeVillier, Speaker of the

Louisiana House of Representatives, and Cameron Henry, President of the Louisiana Senate, in

their respective official capacities, 1 appeal to the United States Court of Appeals for the Fifth

Circuit from the February 8, 2024, Ruling and Order, Docs. 233 & 234, granting an injunction,

and all orders related to, or forming the basis of, that Ruling and Order.

                                                    Respectfully submitted,

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1
  Former Speaker of the Louisiana House of Representatives, Clay Schexnayder, and former
President of the Louisiana Senate no longer hold their respective offices and were replaced
“automatically” by their successors Speaker DeVillier and President Henry under Federal Rule of
Civil Procedure 25(d).
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Counsel for Legislative Intervenors, Phillip
DeVillier, in his Official Capacity as Speaker
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of Cameron Henry in his Official Capacity as
President of the Louisiana Senate




                                  CERTIFICATE OF SERVICE

       I certify that on March 6, 2024, this document was filed electronically on the Court’s

electronic case filing system. Notice of the filing will be served on all counsel of record through

the Court’s system. Copies of the filing are available on the Court’s system.

                                                     /s/ Michael W. Mengis
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                                                     and of Cameron Henry, in his Official
                                                     Capacity as President of the Louisiana Senate




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